     Case 3:17-cv-00939-WHA Document 666-1 Filed 06/20/17 Page 1 of 3




 1 QUINN EMANUEL URQUHART & SULLIVAN, LLP
     Charles K. Verhoeven (Bar No. 170151)
 2   charlesverhoeven@quinnemanuel.com
     David A. Perlson (Bar No. 209502)
 3   davidperlson@quinnemanuel.com
     Melissa Baily (Bar No. 237649)
 4   melissabaily@quinnemanuel.com
     John Neukom (Bar No. 275887)
 5   johnneukom@quinnemanuel.com
     Jordan Jaffe (Bar No. 254886)
 6   jordanjaffe@quinnemanuel.com
   50 California Street, 22nd Floor
 7 San Francisco, California 94111-4788
   Telephone:     (415) 875-6600
 8 Facsimile:     (415) 875-6700

 9 Attorneys for WAYMO LLC

10                              UNITED STATES DISTRICT COURT

11             NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

12 WAYMO LLC,                                    CASE NO. 3:17-cv-00939-WHA

13                Plaintiff,                     DECLARATION OF LINDSAY COOPER
                                                 IN SUPPORT OF PLAINTIFF WAYMO
14       vs.                                     LLC’S ADMINISTRATIVE MOTION TO
                                                 FILE UNDER SEAL PORTIONS OF ITS
15 UBER TECHNOLOGIES, INC.;                      REPLY IN SUPPORT OF ITS JUNE 15,
   OTTOMOTTO LLC; OTTO TRUCKING                  2017 LETTER BRIEF REGARDING
16 LLC,                                          PRIVILEGE ISSUES
17                Defendants.

18
19

20
21
22
23
24
25
26
27
28

                                                                     CASE NO. 3:17-cv-00939-WHA
                                    COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
      Case 3:17-cv-00939-WHA Document 666-1 Filed 06/20/17 Page 2 of 3




 1 I, Lindsay Cooper, declare as follows:

 2          1.      I am an attorney licensed to practice in the State of California and am admitted to
 3 practice before this Court. I am an associate at the law firm Quinn Emanuel Urquhart & Sullivan,
 4 LLP, counsel for the Plaintiff Waymo LLC (“Waymo”). I have personal knowledge of the matters set
 5 forth in this Declaration, and if called as a witness I would testify competently to those matters.
 6          2.      I make this declaration in support of Waymo’s Administrative Motion to File Under
 7 Seal Portions of its Reply in Support of its June 15, 2017 Letter Brief Regarding Privilege Issues (the
 8 “Administrative Motion”). The Administrative Motion seeks an order sealing the following materials:
 9                        Document                    Portions to Be Filed         Designating Party
                                                           Under Seal
10           Portions of Waymo’s Letter Brief        Portions highlighted in    Defendants
                                                     blue
11
             Exhibit 1 to the Declaration of         Entire Documents           Defendants
12           Melissa Baily

13
            3.      Waymo has filed portions of its Letter Brief and Exhibit 1 to the Declaration of Melissa
14
     Baily under seal because they contain information that Defendants have designated confidential.
15
            4.      Waymo expects Defendants to file one or more declarations in accordance with the
16
     Local Rules.
17
18
            I declare under penalty of perjury under the laws of the State of California and the United
19
     States of America that the foregoing is true and correct, and that this declaration was executed in San
20
     Francisco, California, on June 20, 2017.
21
22
                                                   By /s/ Lindsay Cooper
23                                                    Lindsay Cooper
24                                                    Attorney for WAYMO LLC

25
26
27
28

                                                      -2-                   CASE NO. 3:17-cv-00939-WHA
                                           COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
     Case 3:17-cv-00939-WHA Document 666-1 Filed 06/20/17 Page 3 of 3




 1                                  SIGNATURE ATTESTATION
 2         Pursuant to Local Rule 5-1(i)(3), I attest under penalty of perjury that concurrence in the

 3 filing of this document has been obtained from Lindsay Cooper.
 4
                                                 /s/ Charles K. Verhoeven
 5
                                                   Charles K. Verhoeven
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                                   -3-                   CASE NO. 3:17-cv-00939-WHA
                                        COOPER DECLARATION ISO WAYMO’S ADMINISTRATIVE MOTION TO SEAL
